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           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK
           --------------------------------------------------X
           UNITED STATES OF AMERICA,
                             Plaintiff                             09 CR 135 (SJ)

                            v.
                                                                   ORDER ADOPTING
                                                                   REPORT AND
                                                                   RECCOMENDATION
           JOHN A BURKE, et. al,
                             Defendant.
           -------------------------------------------------X

           A P P E A R A N C E S:

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           JOHNSON, Senior District Judge:


                  Presently before the Court is a Report and Recommendation (“Report”)

           prepared by Magistrate Judge James Orenstein. Judge Orenstein issued the Report

           on October 16, 2009, and provided the parties with more than the requisite amount

           of time to file any objections. The defense filed its objections to the Report on

           October 27, 2009. The government did not file any objections to the Report. For

           the reasons stated herein, this Court affirms and adopts the Report in its entirety.


                  A district court may designate a magistrate judge to hear and determine

           certain motions pending before the Court and to submit to the court proposed

           findings of fact and a recommendation as to the disposition of the motion. See 28

           U.S.C. §636(b)(1). Within 10 days of service of the recommendation, any party

           may file written objections to the magistrate’s report. See Id. Upon de novo review

           of those portions of the record to which objection were made, the district court

           may affirm or reject the recommendations. See Id.


                          The Court is not required to review, under a de novo or any other

           standard, factual or legal conclusions of the magistrate judge as to those portions

           of the report and recommendation to which no objections are addressed. See

           Thomas v. Arn, 474 U.S. 140, 150 (1985). In addition, failure to file timely

           objections may waive the right to appeal this Court’s Order. See 28 U.S.C.
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           636(b0(1), Small v. Sec’y of Health and Human Servs., 892 F.2d 15, 16 (2d Cir.

           1989).


                    Upon observing and hearing the testimony provided by government

           witnesses, F.B.I. Special Agent Timothy Gorman (“Gorman”), Judge Orenstein

           found Gorman’s testimony credible. Judge Orenstein pointed to the fact that

           Defendant Cadicamo declined to allow the government to cross-examine him on

           the factual assertions in his findings that Cadicamo’s contrary assertions should

           not be accorded any weight. After reviewing Judge Orenstein’s Report and the

           defense’s objections, the Court concludes that the defense has not raised any new

           arguments that would convince this Court to reject Orenstein’s well-reasoned

           recommendations.


                          Accordingly, this Court will defer to the findings of Judge

           Orenstein and it affirms and adopts the Report in its entirety. The motion to

           suppress is DENIED.


           SO ORDERED.




           Dated: November 24, 2009                          ___________/s_____________
           Brooklyn , NY                                   Senior United States District Judge
